                                                               United States Bankruptcy Court
                                                                         District of Oregon
 In re      U.S. Outdoor Holding LLC                                                                   Case No.    20-32571-dwh11
                                                                                 Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for U.S. Outdoor Holding LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 4, 2020                                                   /s/ Douglas R. Ricks
 Date                                                                Douglas R. Ricks
                                                                     Signature of Attorney or Litigant
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                                                 Case 20-32571-dwh11                Doc 3     Filed 09/04/20
